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 6   Attorney for Defendant
     Manuel Keith
 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                        )       No. 2:11-CR-00190 MCE
                                                      )
11                                                    )
               Plaintiff,                             )       STIPULATION REGARDING
12                                                    )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
13                                                    )       ORDER
     NICHOLAS RAMIREZ, et al.,                        )
14                                                    )       Date: January 9, 2014
                                                      )       Time: 9:00 a.m.
15             Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
                                                      )
16                                                    )
                                                      )
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18
               The United States of America through its undersigned counsel, Jason Hitt, Assistant
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     United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,
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     Esq. hereby stipulate to the following:
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22        1. By previous order, this matter was set for status conference on January 9, 2014.

23        2. By this stipulation, Manuel Keith now moves to continue the status conference until April
24
     17, 2014 and to exclude time between January 9, 2014 and April 17, 2014 under the Local Code
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     T-2 and T-4.
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          3.   The parties agree and stipulate, and request the Court find the following:

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     a. This case was the product of a lengthy investigation in which wiretaps were utilized
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 2      on multiple telephones. The government has produced discovery which to date

 3      includes 1,952 pages containing wiretap applications, periodic reports, and
 4
        investigative materials. Additionally, the government has provided defense counsel
 5
        with voluminous wiretap conversations. Given this large volume of discovery,
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 7
        counsel for Mr. Keith needs additional time to review the discovery and consult with

 8      him. Additionally, a continuance now will provide the government and defense
 9      counsel the needed time to negotiate and hopefully, finalize a plea agreement.
10
        Further, counsel for Mr. Keith is set for trial in two murder cases, one commencing in
11
        early February, 2014 and the other on March 17, 2014 in Sacramento County
12

13      Superior Court and needs time to prepare for said trials.

14   b. It is expected the government will be able to provide a plea agreement to Mr. Keith
15
        and a guilty plea is hoped to be entered at the next status conference.
16
     c. The Government does not object to the continuance.
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     d. Based on the above-stated findings, the ends of justice served by granting the
18

19      requested continuance outweigh the best interests of the public and the defendant in a

20      speedy trial within the original date prescribed by the Speedy Trial Act.
21
     e. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
22
        Section 3161(h)(7)(A) within which trial must commence, the time period of January
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24
        9, 2014 through April 17, 2014 inclusive, is deemed excludable pursuant to 18 United

25      States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local
26      Code T-2 and T-4 because it results from a continuance granted by the Court at
27
        defendant’s request on the basis of the Court’s finding that the ends of justice served
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                    by taking such action outweigh the best interest of the public and the defendant in a
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 2                  speedy trial.

 3         4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
                Speedy Trial Act dictate that additional time periods are excludable from the period within
 5
                which a trial must commence.
 6

 7   IT IS SO STIPULATED.
 8
     DATED:             January 10, 2014                       BENJAMIN WAGNER
 9                                                             United States Attorney
10                                                             /s/ Jason Hitt
11
                                                      by
12                                                             Jason Hitt
                                                               Assistant U.S. Attorney
13
                                                               by Jan David Karowsky
14                                                             w/ Mr. Hitt’s consent

15
     DATED:             January 10, 2014                       JAN DAVID KAROWSKY
16
                                                               Attorney at Law
17                                                             A Professional Corporation

18                                                             /s/ Jan Karowsky
19
                                                      by
20                                                             JAN DAVID KAROWSKY
                                                               Attorney for Defendant
21                                                             Manuel Keith
22

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 1                                      ORDER
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 3
            IT IS SO FOUND AND ORDERED.
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     Dated: January 10, 2014
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